                                           Case 4:23-cv-04155-YGR Document 95 Filed 01/02/24 Page 1 of 1




                                  1                                        UNITED STATES DISTRICT COURT
                                  2                                   NORTHERN DISTRICT OF CALIFORNIA
                                  3

                                  4    CALIFORNIA COALITION FOR WOMEN                    Case No.: 4:23-cv-4155-YGR
                                       PRISONERS, et al.,
                                  5                                                      ORDER RE: ADDITIONAL ACCESS FOR LEGAL
                                                   Plaintiffs,                           VISITATION
                                  6
                                              v.
                                  7
                                       UNITED STATES OF AMERICA BUREAU OF
                                  8    PRISONS, et al.,
                                  9                 Defendants.
                                  10
                                       TO ALL PARTIES AND COUNSEL OF RECORD:
                                  11
                                              In light of the unique circumstances leading to the evidentiary hearing scheduled for
Northern District of California




                                  12
 United States District Court




                                       Wednesday, January 3, 2024, the federal defendants shall permit attorney-client visitation to occur
                                  13
                                       in a private and confidential location on Wednesday, January 3, 2024 from 9:00 a.m. to 4:00 p.m.
                                  14
                                              Access shall be provided to the following litigation attorneys:
                                  15

                                  16                    Luma Khabbaz
                                                        Adrienne Spiegel
                                  17                    Natalie Steiert
                                                        Kara Janssen
                                  18
                                                        Susan Beatty
                                  19                    Oren Nimni

                                  20   The Court understands that this access extends beyond that normally provided but finds that given
                                  21
                                       the uniqueness of the allegations being made against the management of the facility, the prior
                                  22
                                       holidays, and the need for an expedited hearing, the order is warranted.
                                  23

                                  24          IT IS SO ORDERED.
                                  25   Date: January 2, 2024                           _______________________________________
                                                                                               YVONNE GONZALEZ ROGERS
                                  26                                                      UNITED STATES DISTRICT COURT JUDGE
                                  27

                                  28
